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 1 LAW OFFICES OF CHRIS COSCA

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 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
10
                                    Plaintiff,       STIPULATION REGARDING EXCLUDABLE
11                                                   TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                      ORDER
12
     JAMES RANDOLPH SHERMAN,                         DATE: September 6, 2018
13                                                   TIME:  10:00 a.m.
                                    Defendant.       COURT: Hon. Morrison C. England, Jr.
14

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16
                                                 STIPULATION
17
           1.      By previous order, this matter was set for status on September 6, 2018.
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           2.      By this stipulation, the parties now move to continue the status conference to
19
     November 15, 2018, and to exclude time between September 6, 2018 and November 15, 2018
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     under Local Code T4.
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           3.      The parties agree and stipulate, and request that the Court find the following:
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                   a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                   b)     Defense counsel desires additional time to review discovery, investigate,
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           and to confer with his client concerning discovery, investigation, potential options for the
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           defense and trial preparation.
      STIPULATION TO CONTINUE STATUS CONF             1
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 1                 c)     Counsel for defendant believes that failure to grant the above-requested

 2         continuance would deny counsel the reasonable time necessary for effective

 3         preparation, taking into account the exercise of due diligence.

 4                 d)     The government does not object to the continuance.

 5                 e)     Based on the above-stated findings, the ends of justice served by

 6         continuing the case as requested outweigh the interest of the public and the defendant

 7         in a trial within the original date prescribed by the Speedy Trial Act.

 8                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

 9         § 3161, et seq., within which trial must commence, the time period of September 6,

10         2018 to November 15, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§

11         3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

12         the Court at defendants’ request on the basis of the Court’s finding that the ends of

13         justice served by taking such action outweigh the best interest of the public and the

14         defendant in a speedy trial.

15         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

16 of the Speedy Trial Act dictate that additional time periods are excludable from the period

17 within which a trial must commence.

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19         IT IS SO STIPULATED.

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21
     Dated: August 30, 2018                              /s/ Jason Hitt
22                                                       JASON HITT
                                                         Assistant United States
23                                                       Attorney
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26                                                       /s/ Chris Cosca
     Dated: August 30, 2018
                                                         CHRIS COSCA
27
                                                         Counsel for Defendant
28                                                       JAMES SHERMAN


      STIPULATION TO CONTINUE STATUS CONF            2
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 1
                                                  ORDER
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            The Court hereby adopts the stipulation of the parties as it’s order. However, given how
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     long this case has been pending, no further continuances will be granted absent a compelling
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     showing that the ends of justice served by continuing the case as requested outweigh the
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     interest of the public and the defendant in a speedy trial.
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              IT IS SO ORDERED.
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     Dated: September 12, 2018
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      STIPULATION TO CONTINUE STATUS CONF             3
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